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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   January 12, 2021
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

HYLEN RUSSELL SCOTT,                          §
                                              §
         Plaintiff,                           §
VS.                                           §   CIVIL ACTION NO. 2:21-CV-5
                                              §
STACY G STEEL, et al,                         §
                                              §
         Defendants.                          §

                       OPINION AND ORDER OF TRANSFER

       This is a civil rights action filed by a Texas state prisoner. Plaintiff Hylen Russell

Scott is currently incarcerated at the John B. Connally Unit in Kenedy, Texas, which is

located in Karnes County. In his complaint, Petitioner challenges conditions relating to

his confinement. Specifically, Petitioner alleges he was not fairly represented by counsel

substitute during a disciplinary hearing.

       A civil action wherein jurisdiction is not founded solely on diversity of citizenship

may be brought in (1) a judicial district where any defendant resides, if all defendants

reside in the same state, or (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred. 28 U.S.C. § 1391(b). In addition, for the

convenience of parties and witnesses, and in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been

brought. 28 U.S.C. § 1404(a).




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      In this case, the events about which Plaintiff complains occurred in Karnes

County, Texas.    None of the Defendants reside or are found in the Corpus Christi

Division of the Southern District of Texas. Karnes County lies within the San Antonio

Division of the Western District of Texas.     28 U.S.C. § 124(d)(4). Therefore, the

interests of justice would be served by a transfer to the San Antonio Division of the

Western District of Texas. Accordingly, it is ORDERED that this case be transferred to

the United States District Court for the Western District of Texas, San Antonio Division.

All pending motions are DENIED as moot subject to re-filing after the case is

transferred. The Clerk of Court is directed to CLOSE this case.


      ORDERED this 11th day of January, 2021.


                                            ___________________________________
                                                         Jason B. Libby
                                                  United States Magistrate Judge




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